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© 5-1C
INCIDENT STATEMENT
Facility._| Cibola County Correctional Center incident Number ~ =

| Incident.Date_| August 1, 2023 [ incident Time (HRS) | 1430 Hours |

Person Name iD Number Person Type Person Role
loyee #/inmate #/Civillan ID) | (Employee/Inmate/Civilian) | (Witness or Participant)

M. Ashley 40486156 Employee Participant

| Housing Location (For inmates/Residents Only) _|

Based on your‘own knowledge, what did you see,-hear, and do?..

On August 1, 2023 at approximately 1430 hours |, Senior Detention Officer M. Ashley assisted Captain Bitsoi to talk
to 700 Bravo due to USMS inmates acting out and throwing a piece of the mop bucket at the window of control. As

sprayed USMS Armenta and that is when USMS inmate Mariscal- Lopez, Luis # 019 run up on Captain Bitsoi.

That is when I sprayed USMS inmate Mariscal- Lopez. Captain Bitsoi Sprayed USMS inmate Mariscal- Lopez. USMS

inmate Mariscal- Lopez then proceed to strike Captain Bitsoi with a closed fist approximately four times. USMS inmate
ri cal- Lopez was assisted to the floor b Car tain Bitsoi. USM inmate Armanta then roceeds to walk up to

ariscal- Lopez to put his hands behind his back. a tain Bitsoi was assisting USMS inmate Armenta to t
during that time USMS Mariscal- Lopez_then tried to grab Captain Bitsoi from behind and i SD/O Ashley sprayed him
again while giving my verbal directives put his hands behind his back. USMS inmates Armenta and Mariscal- Lopez
were both secured in hand cuffs. | SD/O Ashley escorted USMS inmate Mariscal- Lopez to Medical for
decontamination and get a medical evaluation. | SD/O Ashley assisted Mariscal- Lopez to the eye wash station where
he made a comment that he would have stabbed Captain Bitsoi insisted of hitting him because he is already a lifer. |
S$D/O Ashley passed that comment down to SD/O King. | SD/O Ashley assisted Medical Officer Gambrell on escorting

USMS inmate Armenta to Intake for scanning after his medical evaluation and escorted him to 500 Charlie without
incident. | SD/O Ashle S evaluated by medical and cleared to return to shift with no injuries. End of Statement.

Did you receive. any injuries? YES or NO (if YES, Explain Below) |

| Were you-evaluated by medical? YES orNO [| |

Printed ewes. i M. Ashle

Po Date: | 08/01/2023

to section to:be completed by CoreCivic staff if the civilian/other or inmate/resident refused to complete the 5-
1C.

Place an “X” in the appropriate box:

_Inmate/Resident refused to complete this 5-1C
“Civilian/Other refused to complete this 5-1C

Employee/Witness : Printed Date:
Name.
Employee/Witness: Signature ..

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